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1    DANIEL J. BRODERICK, Bar #89424
     Acting Federal Defender
2    Designated Counsel for Service
     801 I Street, 3rd Floor
3    Sacramento, California 95814
     Telephone (916) 498-5700
4
5    Attorney for Defendant
     JESUS HUERTA
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )     No. CR-S-05-447 GEB
                                      )
12                    Plaintiff,      )     STIPULATION AND [PROPOSED]
                                      )     ORDER CONTINUING STATUS
13          v.                        )     CONFERENCE AND EXCLUDING TIME
                                      )
14   JESUS HUERTA, et al.,            )
                                      )     Date: March 10, 2006
15                    Defendants.     )     Time: 9:00 a.m.
                                      )     Judge: Garland E. Burrell, Jr.
16                                    )
17
18           It is hereby stipulated between the parties, Robin R. Taylor,
19   Assistant United States Attorney, attorney for Plaintiff; Timothy E.
20   Warriner, attorney for defendant, ROSA ISELA HUERTA; and Daniel J.
21   Broderick, attorney for defendant, JESUS HUERTA, that the status
22   conference presently scheduled for February 17, 2006 be vacated and a
23   new status conference hearing date of March 10, 2006 at 9:00 a.m. be
24   set.
25          This continuance is being requested to allow defense counsels
26   further time to work out details of a proposed plea agreement from the
27   government and to consider possible resolutions.           Additionally, counsel
28   for Rosa Huerta is presently in trial.
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1          The parties, through their respective counsel, hereby stipulate
2    and agree that the status conference currently scheduled for
3    February 17, 2006 be continued until March 10, 2006, at 9:00 a.m.
4          The parties further stipulate and agree that the time period
5    between February 17, 2006 and March 10, 2006 be excluded under the
6    Speedy Trial Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due
7    to the need to provide defense counsel with the reasonable time to
8    prepare.
9    Dated: February 16, 2006
10                                             Respectfully submitted,
11
                                               /s/ Daniel J. Broderick
12                                             ________________________________
                                               DANIEL J. BRODERICK
13                                             Acting Federal Defender
                                               Attorney for Defendant
14                                             JESUS HUERTA
15
                                               /s/ Daniel J. Broderick for
16                                             ________________________________
                                               TIMOTHY E. WARRINER, ESQ.
17                                             Attorney for Defendant
                                               ROSA ISELA HUERTA
18
19
     Dated:    February 16, 2006               MCGREGOR W. SCOTT
20                                             United States Attorney
21
                                               /s/ Daniel J. Broderick for
22                                             _________________________________
                                               ROBIN R. TAYLOR
23                                             Assistant U.S. Attorney
                                               Attorney for Plaintiff
24
                                   ------------
25
           Pursuant to the stipulation filed by the parties, and for the
26
     reasons stated therein, IT IS HEREBY ORDERED that the status conference
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     currently scheduled for February 17, 2006, be continued until March 10,
28


     Stip. Continuing Status Conference        2
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1    2006 at 9:00 a.m.
2          IT IS FURTHER ORDERED that the time period between February 17,
3    2006 and March 10, 2006, be excluded under the Speedy Trial Act (18
4    U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to
5    provide defense counsel with the reasonable time to prepare.
6    Dated:    February 21, 2006
7
                                          /s/ Garland E. Burrell, Jr.
8                                         GARLAND E. BURRELL, JR.
                                          United States District Judge
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     Stip. Continuing Status Conference        3
